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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION
                           _____________________________________


BRAIDWOOD MANAGEMENT, INC., et al.,

        Plaintiffs,

v.                                                 Civil Action No. 4:20-cv-00283-O

XAVIER BECERRA, et al.,

        Defendants.


                             DEFENDANTS’ NOTICE OF APPEAL

        Please take notice that all Defendants in the above-named case appeal to the United States

Court of Appeals for the Fifth Circuit from this Court’s Final Judgment, ECF No. 114, entered in

this action on March 30, 2023, as well as all prior orders and decisions that merge into the

judgment, including the Court’s March 30, 2023 Second Memorandum Opinion and Order on

Remedies in Relation to Plaintiffs’ Motion for Summary Judgment, ECF No. 113, and the Court’s

September 7, 2022 Memorandum Opinion and Order, ECF No. 92.


 LEIGHA SIMONTON                                 BRIAN M. BOYNTON
 United States Attorney                          Principal Deputy Assistant Attorney General

 /s/ Brian W. Stoltz                             MICHELLE R. BENNETT
 Brian W. Stoltz                                 Assistant Branch Director
 Assistant United States Attorney
 Texas Bar No. 24060668                           /s/ Christopher M. Lynch
 1100 Commerce Street, Third Floor               CHRISTOPHER M. LYNCH
 Dallas, Texas 75242-1699                        (D.C. Bar # 1049152)
 Telephone: 214-659-8626                         Trial Attorney
 Facsimile:     214-659-8807                     U.S. Department of Justice
 brian.stoltz@usdoj.gov                          Civil Division
                                                 1100 L Street, NW
                                                 Washington, D.C. 20005
                                                 Telephone: (202) 353-4537


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                                                   Fax: (202) 616-8470
                                                   Email: Christopher.M.Lynch@usdoj.gov

                             Attorneys for Defendants Xavier Becerra,
                         Janet L. Yellen, Julie A. Su, and the United States




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                                        Certificate of Service

        On March 31, 2023, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties who have appeared in the case

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                      /s/ Christopher M. Lynch
                                                      Christopher M. Lynch




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